Case 1:04-ov-01251-RL.]-STA Dooument 30 Filed 06/27/05 Page 1 of 35 Page|D 26
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IN THE UNITED STATES DISTRICT COURT 5“@:¥=:/37 `"\~ ;./;/"

  

FOR THE WESTERN DISTRICT oF TENNESSI§E»,_, _ fifty é,,
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LEoN LAKE, ) JS` @`"
~% q» /`
) "“’O»'i"
Plaintiff, )
)
v. ) No. 04-1251-T-An
THE PROCTER & GAMBLE )
MANUFACTURING CoMPANY, )
a corporation, )
)
Defendant. )
)
_:. f_ oRDER

The Court hereby GRANTS Defendant The Procter & Gamble
Manufacturing Company, Inc.’S (“Prooter & Gamble”) Motion To Exceed The
Page Limit On Motion For Summary Judgment. Procter & Gamble’S memoranda

in Support of its motion for Summary judgment Shall not exceed 60 pages.

@'wm b QM
ignited States hhgiSt-F&te Judge

Q`-/ Qe~of'

Date

 

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Honorable .1 ames Todd
US DISTRICT COURT

